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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
SECURITIES AND EXCHANGE                    )
COMMISSION,                                )
                                           )
                        Plaintiff,         )
                                          )
                  v.                      )  No. 1:23-cv-01599-ABJ-ZMF
                                          )
BINANCE HOLDINGS LIMITED,                 )
BAM TRADING SERVICES INC.,                )
BAM MANAGEMENT US HOLDINGS                )
INC., AND CHANGPENG ZHAO,                 )
                                          )
                        Defendants.       )
__________________________________________)

                 PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY

          Plaintiff Securities and Exchange Commission (“SEC”) respectfully writes to notify the

Court of a recent Supreme Court decision, Starbucks Corp. v. McKinney, 144 S. Ct. 1570 (2024),

that relates to the standard for issuance of temporary or preliminary injunctive relief. The SEC is

notifying the Court out of an abundance of caution because of the Consent Order that is currently

in place following the SEC’s Motion for a Temporary Restraining Order (“TRO Motion”) (Dkt.

No. 4).

          Starbucks applied a four-part test for temporary and preliminary injunctions when

evaluating the National Labor Relations Board’s request for preliminary injunction under the

National Labor Relations Act. Although Starbucks involved preliminary injunctive relief sought

by a different government agency under its separate statutory authority, on July 9, 2024, the

Third Circuit in SEC v. Chappell, cited Starbucks in applying the four-part test to enforcement

actions brought by the SEC. 107 F.4th 114, 128 (3d Cir. 2024). That test requires a plaintiff to

demonstrate the following factors to obtain a temporary or preliminary injunction: (1) a
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likelihood of success on the merits; (2) irreparable harm absent the injunction; (3) that the

balance of equities tips in the plaintiff’s favor; and (4) that the injunction sought is in the public

interest. Starbucks, 144 S. Ct. at 1576.

       On June 17, 2023, this Court entered a Consent Order governing certain conduct of the

parties pending resolution of this case on the merits (Dkt. No. 71) (“Consent Order”). The

Consent Order was entered pursuant to a stipulation among all the parties (Dkt. No. 70)

following the TRO Motion. Although the TRO Motion articulated a standard for temporary or

preliminary injunctive relief under the SEC’s statutory authority that differs from the standard

applied in Starbucks, the Consent Order was entered on consent of the parties, not based on any

Court findings under either standard, and should remain in effect.



Dated: September 24, 2024                      Respectfully submitted,

                                               /s/ Matthew Scarlato
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